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                                                                                                           AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                                                                         Jan 11, 2021
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303
                                                                                                                 MIAMI

  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov


                                           January 11, 2021

  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 19-14414-DD
  Case Style: L.S., et al v. Scot Peterson, et al
  District Court Docket No: 0:18-cv-61577-BB

  A copy of this letter, and the judgment form if noted above, but not a copy of the court's
  decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
  was previously forwarded to counsel and pro se parties on the date it was issued.

  The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
  was previously provided on the date of issuance.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Lois Tunstall
  Phone #: (404) 335-6191

  Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                             No. 19-14414
                                            ______________

                                    District Court Docket No.
                                       0:18-cv-61577-BB

  L.S.,
  a minor by her mother and next friend
  Yasmin Lorena Hernandez,
  GIANCARLO MENDOZA,
  G.E.M.,
  a minor by her mother and next friend
  Amalfi Mendoza,
  N.V.,
  a minor by her mother and next friend
  Ayde Vera,
  E.T.,
  a minor by her mother and next friend
  Olga Mathurin,
  C.M.W.,
  a minor by her mother and next friend
  Cathy Sanchez,
  C.D.W.,
  a minor by her mother and next friend
  Judyann Wolf,
  A.J.T.,
  a minor by her mother and next friend
  Laurie Jo Brangan,
  T.M.,
  a minor by his mother and next friend
  Crystal Lugo,
  G.B.,
  a minor by his mother and next friend
  Jennifer Barrera,
  AUDREY DIAZ,
  B.A.J.,
  a minor by his mother and next friend
  Yudelquis Duran,
  K.J.S.H.,
  a minor by his guardian and next friend
  Juanita A. Vives,
  R.D.,



  ISSUED AS MANDATE 01/11/2021
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  a minor by his mother and next friend
  Dawn DeLena,
  K.J.M.,
  a minor by his mother and next friend
  Tanya McConnell,

                                                     Plaintiffs - Appellants,

  versus

  SCOT PETERSON,
  JOHN DOES 1-3,
  JAN JORDAN,
  ANDREW MEDINA,
  ROBERT RUNCIE,
  BROWARD COUNTY,
  a political subdivision of the State of Florida,

                                               Defendants - Appellees.
                         __________________________________________

                         Appeal from the United States District Court for the
                                    Southern District of Florida
                         __________________________________________

                                              JUDGMENT

  It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
  entered as the judgment of this Court.

                                     Entered: December 11, 2020
                           For the Court: DAVID J. SMITH, Clerk of Court
                                           By: Jeff R. Patch




  ISSUED AS MANDATE 01/11/2021
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                                                                           [PUBLISH]

                  IN THE UNITED STATES COURT OF APPEALS

                           FOR THE ELEVENTH CIRCUIT
                             ________________________

                                   No. 19-14414
                             ________________________

                          D.C. Docket No. 0:18-cv-61577-BB



  L.S., ex rel. YASMIN LORENA HERNANDEZ,
  GIANCARLO MENDOZA, et al.,

                                                                 Plaintiffs-Appellants,
                                         versus

  SCOT PETERSON,
  JAN JORDAN, et al.,

                                                                Defendants-Appellees.

                             ________________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                            _______________________

                                  (December 11, 2020)

  Before WILLIAM PRYOR, Chief Judge, HULL and MARCUS, Circuit Judges.

  WILLIAM PRYOR, Chief Judge:

        This appeal requires us to decide whether the district court erred when it

  dismissed a civil-rights action filed by students present at the Parkland school
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  shooting. The students sued Broward County and five public officials on the theory

  that their response to the school shooting was so incompetent that it violated the

  students’ substantive rights under the Due Process Clause of the Fourteenth

  Amendment to the Constitution. The district court dismissed this claim with

  prejudice because it was an impermissible shotgun pleading and, in the alternative,

  because it failed to state a claim and leave to amend it would be futile. On the

  merits, the district court reasoned that because the students were not in a custodial

  relationship with the officials and failed to allege conduct by the officials that is

  “arbitrary” or “shocks the conscience,” the students could not maintain a claim that

  the officials violated their substantive right to due process of law. The students

  appeal this decision, but settled caselaw makes clear that official acts of negligence

  or even incompetence in this setting do not violate the right to due process of law.

  Because we agree with the district court that the students failed to state a claim of a

  constitutional violation and that leave to amend would be futile, we affirm.

                                   I. BACKGROUND

        On February 14, 2018, Nikolas Cruz shot and killed 17 people at Marjory

  Stoneman Douglas High School in Parkland, Florida. He also injured 17 others

  during his six-minute rampage. The shooting caused traumatic harm to many more

  bystanders, including the plaintiffs, 15 students who were present and allege

  psychological injuries.



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        “Because this case arises at the motion-to-dismiss stage, we accept as true

  the facts as alleged in [the students’] complaint.” Silberman v. Miami Dade

  Transit, 927 F.3d 1123, 1128 (11th Cir. 2019). The students allege that the

  Parkland tragedy was exacerbated by government blunders before and during the

  shooting. The Broward County Sheriff’s Office failed to act on the “many dozens

  of calls” it received that warned of Cruz’s dangerous propensities. Although

  Sheriff Scott Israel and Superintendent Robert Runcie knew that Cruz might be

  dangerous and Runcie was warned that the school had inadequate security, neither

  official attempted to improve school security. And Scot Peterson, the police officer

  in charge of school security, was nicknamed “Rod”—short for “retired on duty”—

  for his “lackadaisical . . . approach[].”

        On the day of the shooting, Andrew Medina, a school security guard,

  recognized Cruz as a potential school shooter but permitted him to enter the school

  anyway. Medina radioed and texted other security officials that Cruz—a suspicious

  person—was present, and he drove a golf cart toward Cruz. But he did not directly

  approach Cruz or call in a code to put the school on lockdown. Medina later

  explained that he was ordered not to call in a code unless he saw a gun, so he did

  not call one in even after he heard gunshots.

        Cruz began shooting less than a minute after entering the building. Peterson

  and three John Does stood outside the school with their guns drawn, but they did



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  not enter the school or attempt to stop the shooting. Peterson later gave

  contradictory explanations for their failure to enter the building. Jan Jordan, a

  police captain and the commander at the scene, repeatedly barred emergency

  responders from entering the building to stop Cruz or to aid his victims. Jordan

  violated police policy and ordered police to “stage,” or gather outside of the

  school, instead of permitting officers to enter the building and pursue Cruz.

        The students argue that these actions were not only incompetent but

  unconstitutional. They filed a civil-rights complaint and later amended it. 42

  U.S.C. § 1983. They sued Peterson, Jordan, Medina, Runcie, Israel, and Broward

  County. The students also alleged facts about three fictitious parties or “John

  Does,” but they did not list the Does as defendants in the amended complaint.

        Only two of the five counts of the amended complaint addressed the

  shooting. Count IV alleged that the officials’ and Broward County’s inability to

  protect the students violated their rights to substantive due process under the

  Fourteenth Amendment. And Count V alleged a claim of retaliation in violation of

  the First Amendment against Medina—namely, that he allowed Cruz into the

  school as retaliation for Medina’s suspension for sexual harassment. The first three

  counts alleged violations of the Fourth Amendment against Peterson and Broward

  County that were unrelated to the shooting. The students interspersed throughout




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  the complaint allegations related to inadequate training, but they did not allege a

  claim of failure to train in a standalone count.

        After the officials and Broward County moved to dismiss the complaint, the

  district court dismissed Counts IV and V with prejudice. It ruled that Count IV was

  an impermissible shotgun pleading and alternatively failed to state a cognizable

  claim. The district court explained that the students failed to identify any actions

  by the defendants that violated the Due Process Clause because no violations

  occurred. It then ruled that the students lacked standing to sue for retaliation in

  Count V and that, even if they had standing, they failed to state a cognizable claim.

  Because any amendment to those counts would be futile, the district court

  dismissed both counts with prejudice.

        For Counts I through III, the district court allowed the claims against

  Peterson to proceed to discovery but dismissed with prejudice the students’ claim

  against Broward County for failure to state a claim. After discovery, the district

  court granted summary judgment in favor of Peterson. The students appeal the

  judgment only as to Count IV.

                             II. STANDARD OF REVIEW

        We review de novo the dismissal of a complaint for failure to state a claim.

  Hill v. White, 321 F.3d 1334, 1335 (11th Cir. 2003). We accept the factual

  allegations in the complaint as true and construe them in the light most favorable to



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  the plaintiff. Quality Auto Painting Ctr. of Roselle, Inc. v. State Farm Indem. Co.,

  917 F.3d 1249, 1260 (11th Cir. 2019) (en banc). “[T]he allegations must state a

  claim for relief that is plausible, not merely possible.” Id. So the complaint must

  contain factual support: “[t]hreadbare recitals of the elements of a cause of action,

  supported by mere conclusory statements, do not suffice.” Id. (quoting Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009)). We also review de novo the denial of leave to

  amend by reason of futility because futility is a legal conclusion that the amended

  complaint would necessarily fail. City of Miami v. Citigroup Inc., 801 F.3d 1268,

  1275 (11th Cir. 2015).

                                   III. DISCUSSION

        We divide our discussion in four parts. We first clarify that the three John

  Does are not parties to this appeal. We then explain why the students failed to state

  a claim for violation of their right to substantive due process. We next explain why

  the students likewise failed to state a claim of failure to train. Finally, we conclude

  that the district court was correct to dismiss these claims with prejudice because

  leave to amend would be futile. Because these determinations resolve the appeal,

  we need not consider the defendants’ remaining arguments.

                A. The Three John Does Are Not Parties to this Appeal.
        The students may not belatedly join nonparties as defendants. United States

  ex rel. Atkinson v. Pa. Shipbuilding Co., 473 F.3d 506, 518 (3d Cir. 2007). Because



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  “an amended complaint supersedes the former pleadings,” the amended complaint

  controls which persons are defendants in a lawsuit. TVPX ARS, Inc. v. Genworth

  Life & Annuity Ins. Co., 959 F.3d 1318, 1327 (11th Cir. 2020) (alteration adopted)

  (internal quotation marks omitted). The students listed three John Does as

  defendants in their original complaint but not in their amended complaint. Yet on

  appeal, the students again list the Does as defendants and ask that we revive their

  claims against the Does. But onetime defendants who are dropped from an

  amended complaint “do not remain in the case.” Palakovic v. Wetzel, 854 F.3d

  209, 221 n.13 (3d Cir. 2017). The John Does are not defendants.

          B. The Students Failed to State a Substantive-Due-Process Claim.
        We must “exercise the utmost care” when we consider claims about

  substantive due process. Collins v. City of Harker Heights, 503 U.S. 115, 125

  (1992). Substantive due process is a legal concept “untethered from the text of the

  Constitution,” so “the Supreme Court has been reluctant to expand” its scope.

  Echols v. Lawton, 913 F.3d 1313, 1326 (11th Cir. 2019) (internal quotation marks

  omitted). And both we and the Supreme Court have “said repeatedly that the

  Fourteenth Amendment is not a ‘font of tort law’” that can support novel federal

  causes of action. Neal ex rel. Neal v. Fulton Cnty. Bd. of Educ., 229 F.3d 1069,

  1074 (11th Cir. 2000) (quoting County of Sacramento v. Lewis, 523 U.S. 833, 848




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  (1998)). After all, “not every injury is an injury of constitutional magnitude.”

  Goodman v. Kimbrough, 718 F.3d 1325, 1333 (11th Cir. 2013).

        The right to substantive due process depends on the relationship of the

  official and the individual his acts or omissions allegedly harmed. An official has a

  “duty to protect individuals from harm by third parties” only when the individuals

  are in the official’s custody. White v. Lemacks, 183 F.3d 1253, 1257 (11th Cir.

  1999). And individuals who are not in an official’s custody must allege that his

  conduct was “arbitrary, or conscience shocking, in a constitutional sense.” Id. at

  1258 (quoting Collins, 503 U.S. at 128). Because the students were not in the

  officials’ custody and failed to allege that the officials committed any “arbitrary”

  or “conscience shocking” conduct, we agree with the district court that the students

  failed to state a substantive-due-process claim.

      1. The Students Were Not in a Custodial Relationship with the Defendants.
        It is well-established that “schoolchildren are not in a custodial relationship

  with the state.” Nix v. Franklin Cnty. Sch. Dist., 311 F.3d 1373, 1378 (11th Cir.

  2002). A custodial relationship exists only if the government places “limitations

  . . . upon an individual’s ability to act on his own behalf” that are similar in kind to

  incarceration or other forms of involuntary confinement. Wyke v. Polk Cnty. Sch.

  Bd., 129 F.3d 560, 569–70 (11th Cir. 1997). School attendance, even when

  compelled by truancy and compulsory attendance laws, is not similar in kind to



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  incarceration or institutional confinement. Id. at 569; D.R. ex rel. L.R. v. Middle

  Bucks Area Vocational Tech. Sch., 972 F.2d 1364, 1370–72 (3d Cir. 1992) (en

  banc). Ordinarily there are no custodial relationships in the public-school system,

  even if officials are aware of potential dangers or have expressed an intent to

  provide aid on school grounds. Wyke, 129 F.3d at 569–70.

        The students’ efforts to avoid this rule are unavailing. They argue that even

  if there is no custodial relationship “as a general matter,” Vernonia Sch. Dist. 47J

  v. Acton, 515 U.S. 646, 655 (1995), their appeal presents an exception. See

  Hasenfus v. LaJeunesse, 175 F.3d 68, 72 (1st Cir. 1999) (leaving open the

  possibility that schools might have a duty to protect students in “narrow

  circumstances”). But Nix forecloses that argument. 311 F.3d at 1378. And even if

  we could contemplate exceptions, there is no reason to do so here.

        The students identify just one fact that differentiates this appeal from our

  precedents—the presence of armed school-safety officers—but the students fail to

  explain how the presence of these officers converts a non-custodial relationship

  into a custodial one. The officers’ presence on school grounds, whether by itself or

  in combination with truancy and compulsory attendance laws, does not restrain

  students’ freedom to act in a way that is comparable to incarceration or

  institutional confinement. Wyke, 129 F.3d at 569. Because the students were not in

  custody at school, they were not in a custodial relationship with the officials.



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      2. The Students Do Not Allege Any “Arbitrary” or “Conscience Shocking”
                                      Conduct.

        Where no custodial relationship exists, “conduct by a government actor will

  rise to the level of a substantive due process violation only if the act can be

  characterized as arbitrary or conscience shocking in a constitutional sense.”

  Waddell v. Hendry Cnty. Sheriff’s Off., 329 F.3d 1300, 1305 (11th Cir. 2003). This

  standard is “narrowly interpreted and applied.” White, 183 F.3d at 1259. “Only the

  most egregious official conduct” qualifies under this standard, so “even intentional

  wrongs seldom violate the Due Process Clause.” Waddell, 329 F.3d at 1305

  (alteration adopted) (internal quotation marks omitted).

        We can consider only one of the students’ theories of “arbitrary” or

  “conscience shocking” conduct: that the defendants acted with deliberate

  indifference. Their amended complaint initially asserted—only in passing—that

  the officials and Broward County allowed the students to be unconstitutionally

  seized. The students alleged, with no explanation, that they “were seized in that

  they suffered harm . . . by being shot at or by being in such close proximity to the

  shooting, and by being exposed to the blood and carnage that was afoot.” But see

  Graham v. Connor, 490 U.S. 386, 395 n.10 (1989). But a count supported only by

  conclusory allegations necessarily fails to state a claim. Piazza v. Jefferson County,

  923 F.3d 947, 958 (11th Cir. 2019). And, in any event, the students abandoned the




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  seizure issue by failing to brief it on appeal. United States v. Moran, 778 F.3d 942,

  985 (11th Cir. 2015).

        To succeed on their theory of deliberate indifference, the students must

  allege both that the officials acted with deliberate indifference and that their

  indifference was “arbitrary” or “conscience shocking.” Waddell, 329 F.3d at 1305–

  06. “To act with deliberate indifference, a state actor must know of and disregard

  an excessive—that is, an extremely great—risk to the victim’s health or safety.” Id.

  at 1306. But we need not consider whether the students at this stage might be able

  to satisfy this element for at least some of the officials, because the students fail to

  allege any “arbitrary” or “conscience shocking” conduct.

        We doubt that deliberate indifference can ever be “arbitrary” or “conscience

  shocking” in a non-custodial setting. We stated in dicta in Nix that we “ha[ve] been

  explicit” that it cannot. 311 F.3d at 1377. Yet, we later suggested that deliberate

  indifference might be sufficient in a non-custodial setting if, “at the very least,” it

  involved “deliberate indifference to an extremely great risk of serious injury.”

  Waddell, 329 F.3d at 1306. But Waddell then suggested that “the correct legal

  threshold for substantive due process liability” might be much higher than

  deliberate indifference. Id. at 1306 n.5. Although neither Nix nor Waddell created a

  binding rule, see United States v. Gillis, 938 F.3d 1181, 1198 (11th Cir. 2019), the

  weight of authority lies with Nix.



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        “No case in the Supreme Court, or in this Circuit, . . . has held that . . .

  deliberate indifference is a sufficient level of culpability to state a claim of

  violation of substantive due process rights in a non-custodial context.” Waldron v.

  Spicher, 954 F.3d 1297, 1310 (11th Cir. 2020). Indeed, in the public-school setting,

  we have allowed substantive-due-process claims to proceed only when they

  involved intentional, obviously excessive corporal punishment. See Nix, 311 F.3d

  at 1378; see also, e.g., Kirkland ex rel. Jones v. Greene Cnty. Bd. of Educ., 347

  F.3d 903, 904–05 (11th Cir. 2003); Neal, 229 F.3d at 1076. Even if we assume that

  a non-custodial claim of deliberate indifference may be cognizable as a matter of

  substantive due process, the students’ claim is not.

        The students allege that the officials’ actions were “arbitrary” or “conscience

  shocking” in two ways. First, Israel, Runcie, Medina, Peterson, and Broward

  County knew that Cruz was a danger but failed to intervene during the shooting.

  Second, Jordan prevented lifesaving care by blocking medics from entering the

  school during the shooting. The students argue that these choices, in the totality of

  the circumstances, were “arbitrary” or “conscience shocking.”

        The students are right that we must evaluate the totality of the

  circumstances, Waddell, 329 F.3d at 1306, but they ignore the key circumstance. A

  shooting is “an occasion calling for fast action,” where officials must “make split-

  second judgments—in circumstances that are tense, uncertain, and rapidly



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  evolving.” Waldron, 954 F.3d at 1307 (internal quotation marks omitted). When

  split-second judgments are required, an official’s conduct will shock the

  conscience only when it stems from a “purpose to cause harm.” Id. (quoting Lewis,

  523 U.S. at 854). Outside of their since-abandoned and conclusory claim of

  retaliation against Medina, the students fail to allege that any official acted with the

  purpose of causing harm. Cf. Lightfoot v. Henry Cnty. Sch. Dist., 771 F.3d 764,

  779 (11th Cir. 2014) (reviewing each claim as it was pleaded and refusing to

  transpose allegations pleaded for one claim into support for another). The students

  have not alleged “arbitrary” or “conscience shocking” conduct by any official.

        The “purpose to cause harm” requirement applies even if the officials or

  Broward County had notice of the danger that Cruz posed. This requirement

  controls whenever rapid judgments are necessary. Lewis, 523 U.S. at 851–53.

  Conduct that is not intentionally harmful can violate substantive due process only

  in contexts “when actual deliberation is practical.” Id. at 851.

        Lewis makes clear that this appeal involves rapid judgments in a dangerous

  and unpredictable circumstance. In Lewis, the Supreme Court distinguished, for

  example, between the day-to-day operations of a prison, where actual deliberation

  is practical, and a prison riot, where it is not. Id. at 851–53. In a school shooting, as

  with a prison riot, officials might be able to prepare in the abstract. But when a

  violent and chaotic circumstance comes to pass, officials must make decisions “in



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  haste, under pressure, and frequently without the luxury of a second chance.” Id. at

  853 (internal quotation marks omitted). Absent intentional wrongdoing, we cannot

  review those split-second decisions under the Due Process Clause. Waldron, 954

  F.3d at 1307, 1310–11.

                C. The Students Failed to State a Failure-to-Train Claim.
        We also decline to instate the students’ shooting-related failure-to-train

  claim against Israel, Runcie, and Broward County. The students assert that the

  district court dismissed this claim “without analysis or discussion.” But they never

  properly presented the claim to the district court. The students admit in their

  opening brief that Count IV of their complaint raises only a substantive-due-

  process claim. And nowhere in the amended complaint is a failure-to-train claim

  evident. Cf. Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1323 (11th

  Cir. 2015).

        We are unpersuaded by the students’ belated attempt to extract a failure-to-

  train claim out of Count IV. The students tell us that a failure-to-train claim flows

  out of a handful of paragraphs in the facts section of their amended complaint,

  which they incorporated into Count IV, and one paragraph in Count IV. That

  paragraph alleged that Broward “County . . . enacted policies,” either through

  actual policies or through inadequate training and supervision, “such that the

  named defendants were incapable of performing their duties.” But the students



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  titled Count IV “Arbitrary or Conscience-Shocking Conduct” and used these

  allegations to support their substantive-due-process claim. These paragraphs fall

  far short of the “short and plain statement” necessary for the students to state a

  standalone claim of failure to train. Brown v. Snow, 440 F.3d 1259, 1266 (11th Cir.

  2006) (internal quotation marks omitted). And we may not consider claims raised

  for the first time on appeal. See Access Now, Inc. v. Sw. Airlines Co., 385 F.3d

  1324, 1331 (11th Cir. 2004). We are “a court of review, not a court of first view.”

  Compulife Software Inc. v. Newman, 959 F.3d 1288, 1307 (11th Cir. 2020)

  (internal quotation marks omitted).

                          D. Leave to Amend Would Be Futile.
        Although a district court “should freely give leave [to amend] when justice

  so requires,” Fed. R. Civ. P. 15(a)(2), it may deny leave, sua sponte or on motion,

  if amendment would be futile. Cf. SFM Holdings, Ltd. v. Banc of Am. Sec., LLC,

  764 F.3d 1327, 1344 (11th Cir. 2014). Leave to amend would be futile if an

  amended complaint would still fail at the motion-to-dismiss or summary-judgment

  stage. Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007). In other words,

  the question is whether “the underlying facts or circumstances relied upon by a

  plaintiff may be a proper subject of relief.” Hall v. United Ins. Co. of Am., 367 F.3d

  1255, 1262 (11th Cir. 2004) (internal quotation marks omitted). The district court




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  decided that the underlying facts could not support a claim for relief, so it

  dismissed Count IV with prejudice.

        We agree that leave to amend would be futile. As we have discussed, the

  students can state a substantive-due-process claim only if they allege that the

  defendants acted with the purpose of harming them. The students fail to explain

  how they might satisfy this requirement if they were granted leave to amend their

  complaint. Nor can they. A district court may find futility if a prerequisite to relief

  “is belied by the facts alleged in [the] complaint.” Surtain v. Hamlin Terrace

  Found., 789 F.3d 1239, 1248 (11th Cir. 2015).

        The students’ complaint is replete with allegations that disprove the notion

  that the officials intended to harm them. For example, Medina drove toward Cruz

  before he entered the school and alerted others of Cruz’s suspicious presence. And

  the students allege that Peterson and Jordan behaved as they did because they were

  “so poorly trained . . . that [they were] incapable of adequately conducting the

  tasks which [they were] assigned.” If the officials tried to protect the students—no

  matter how incompetently—then they did not act with the requisite malice, and any

  amendment would be futile.

        The opportunity to amend would not help the students’ failure-to-train claim

  either. To state a viable failure-to-train claim, the students must first identify a

  violation of their constitutional rights caused by the failure to train. Rooney v.



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  Watson, 101 F.3d 1378, 1381 n.2 (11th Cir. 1996); Greason v. Kemp, 891 F.2d

  829, 836–37 (11th Cir. 1990). The students have not identified any violation, and

  they have alleged facts that preclude the possibility of a violation. These

  underlying facts are not a “proper subject of relief” under the law. Hall, 367 F.3d

  at 1262 (internal quotation marks omitted).

                                  IV. CONCLUSION

        We AFFIRM the dismissal of the students’ complaint.




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                                              UNITED STATES COURT OF APPEALS
                                                 FOR THE ELEVENTH CIRCUIT

                                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                              56 Forsyth Street, N.W.
                                                              Atlanta, Georgia 30303


  David J. Smith                                                                                                         For rules and forms visit
  Clerk of Court                                                                                                         www.ca11.uscourts.gov

                                                            December 11, 2020

   MEMORANDUM TO COUNSEL OR PARTIES

   Appeal Number: 19-14414-DD
   Case Style: L.S., et al v. Scot Peterson, et al
   District Court Docket No: 0:18-cv-61577-BB

   This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system, unless
   exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF system by registering for an
   account at www.pacer.gov. Information and training materials related to electronic filing, are available at
   www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
   entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

   The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing en
   banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for rehearing
   or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules. Costs are governed
   by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and an objection thereto is
   governed by 11th Cir. R. 39-2 and 39-3.

   Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
   persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a
   copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for rehearing en banc. See
   11th Cir. R. 35-5(k) and 40-1 .

   Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on the
   appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for writ of
   certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
   cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

   Pursuant to Fed.R.App.P. 39, costs taxed against appellants.

   Please use the most recent version of the Bill of Costs form available on the court's website at www.ca11.uscourts.gov.

   For questions concerning the issuance of the decision of this court, please call the number referenced in the signature block
   below. For all other questions, please call Bradly Wallace Holland, DD at 404-335-6181.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Jeff R. Patch
   Phone #: 404-335-6151

                                                                                               OPIN-1A Issuance of Opinion With Costs
